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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR07-264-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   LASHAYE MARIE PERKINS,               )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on April 15, 2009. The United States was represented by AUSA Annette Hayes and the

16 defendant by Jesse Cantor. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about January 11, 2008 by the Honorable Ricardo

18 S. Martinez on a charge of Bank Fraud, and sentenced to five months custody, five years

19 supervised release. (Dkt. 198.)

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in a drug dependency/substance abuse program, abstain

22 from alcohol, submit to search, pay restitution in the amount of $15,406.04, provide access to


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 financial information, maintain a single checking account for all financial transactions, disclose

02 any business interests, disclose all assets and liabilities, be prohibited from incurring new lines

03 of credit or obligations, be prohibited from possessing false identification documents, and be

04 subject to five months electronic home confinement.

05          In an application dated March 24, 2009 (Dkt. 262), U.S. Probation Officer Jonathan Ishii

06 alleged the following violations of the conditions of supervised release:

07          1.      Failing to comply with the home confinement program since October 10, 2008,

08 in violation of the special condition requiring she participate in the home confinement program

09 with electronic monitoring as directed by the probation officer for a period of five months.

10          2.      Consuming marijuana on or about February 18, 2009; February 24, 2009; March

11 5, 2009; and March 13, 2009, in violation of the special condition to abstain from the use of

12 intoxicants during the term of supervision.

13          3.      Failing to report for drug testing on January 28, 2009; February 2, 2009; February

14 23, 2009; March 4, 2009; and March 12, 2009.

15          Defendant was advised in full as to those charges and as to her constitutional rights.

16          Defendant admitted alleged violations 1 and 2 and waived any evidentiary hearing as to

17 whether they occurred. Defendant denied violation 3.

18          I therefore recommend the Court find defendant violated her supervised release as

19 alleged in violation 1 and 2, that the Court conduct an evidentiary hearing on alleged violation

20 3, and that the Court conduct a hearing limited to the issue of disposition on violations 1 and 2.

21 The next hearing will be set before Judge Martinez.

22 / / /


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 15th day of April, 2009.



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04                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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     cc:    District Judge:              Honorable Ricardo S. Martinez
07          AUSA:                        Annette Hayes, Vince Lombardi
            Defendant’s attorney:        Jesse Cantor
08          Probation officer:           Jonathan Ishii

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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